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                        IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF UTAH

AARON DAVID TRENT NEEDHAM,
                                                    MEMORANDUM DECISION & ORDER
                      Plaintiff,

v.

STATE OF UTAH et al.,                              Case No. 2:15-CV-250 CW
                      Defendants.                  District Judge Clark Waddoups



       The Court has directed the United States Marshals Service to serve process in this case.

See Fed. R. Civ. P. 4(c)(2). To do so, by statute, the United States Marshal "shall command all

necessary assistance to execute its duties." See 28 U.S.C.S. § 556(c) (2018).

       The Complaint identifies the following State of Utah employees as defendants: Wayne

Hollman, Division of Professional Licensing; and Dr. Roberts, Utah State Prison.

       Service of process on current government employees may be effected via authorized

agent. If any of the named defendants are no longer employed by the State or the State is not

authorized to accept service for any of these individuals, more information must be obtained

from the State to complete service.

       Accordingly, IT IS HEREBY ORDERED that: If the State is unable to accept service of

process for the defendants identified above, the State shall disclose to the United States Marshals

Service any information in its records that may help in identifying, locating and completing

service of process upon the named defendants. Such information shall include, but is not limited

to, the defendants' full names and any known aliases, dates of birth, Social Security numbers,
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driver's license numbers, all previous addresses, and last known addresses on file. The U.S.

Marshal shall take all necessary measures to safeguard any personal information provided by the

State to ensure that it is not disclosed to anyone other than the U.S. Marshals Service or Court

officers.

        IT IS SO ORDERED.

               DATED this 12th day of March, 2018.

                                             BY THE COURT:



                                             JUDGE CLARK WADDOUPS
                                             United States District Court




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